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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:07CR3107
           v.                        )
                                     )
MARIA B. DIX,                        )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s motion to extend date for filing pretrial
motions, filing 20, is granted and the deadline for filing
pretrial motions is extended to October 1, 2007.

     DATED this 25th day of September, 2007.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
